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 1                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE
 2
     IN RE:                      .            Chapter 11
 3                               .            Case No. 23-10831 (MFW)
     LORDSTOWN MOTORS CORP.,     .
 4                               .            (Jointly Administered)
                                 .
 5                               .            Courtroom No.
                                 .            824 Market Street
 6                   Debtors.    .            Wilmington, Delaware 19801
                                 .
 7                               .            Monday, December 11, 2023
     . . . . . . . . . . . . . . .            2:00 p.m.
 8
                               TRANSCRIPT OF HEARING
 9                     BEFORE THE HONORABLE MARY F. WALRATH
                       CHIEF UNITED STATES BANKRUPTCY JUDGE
10
     APPEARANCES:
11
     For the Debtors:                   Morgan Patterson, Esquire
12                                      WOMBLE BOND DICKINSON, LLP
                                        1313 North Market Street, Suite 1200
13                                      Wilmington, Delaware 19801

14   For Baker Hostetler:               Michael VanNiel, Esquire
                                        BAKER HOSTETLER
15                                      Key Tower
                                        127 Public Square, Suite 2000
16                                      Cleveland, Ohio 44114

17   For Jefferies:                     Samantha Ruben, Esquire
                                        DENTONS
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24
     Proceedings recorded by electronic sound recording,
25   transcript produced by transcription service.
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 1          (Proceedings commenced at 2:00 p.m.)

 2                 THE COURT:   Good afternoon.        This is Judge

 3   Walrath.

 4                 MS. PATTERSON:   Good afternoon, Your Honor.

 5                 THE COURT:   I hope everybody can see and hear me.

 6   I just got a weird message.

 7                 MS. PATTERSON:   No, we can see and hear you’re

 8   Your Honor.

 9                 THE COURT:   All right.   We’re here on the

10   Lordstown Motors case, and this is some fee applications that

11   I think parties want me to address.

12                 MS. PATTERSON:   That’s right, Your Honor.          Thank

13   you.   This is Morgan Patterson, for the record, from Womble

14   Bond Dickinson, on behalf of the debtors.

15                 We appreciate Your Honor entering the other

16   matters that were on for today, so we’re left just with those

17   fee applications, which were Agenda Item Number 5.

18                 Your Honor, your chambers was very helpful in

19   letting us know which of the applications you had questions

20   on, so I have those representatives on the phone.

21                 We have Michael VanNiel, from Baker Hostetler, and

22   Samantha Ruben, of Dentons, who represents Jeffries.

23                 So we’re certainly happy to answer any questions

24   Your Honor has on those applications.

25                 THE COURT:   All right.   Thank you.        Let’s start
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 1   with Baker Hostetler.       Mr. VanNiel?

 2                 MR. VANNIEL:     Good afternoon, Your Honor.

 3                 THE COURT:     Good afternoon.

 4                 MR. VANNIEL:     Mike VanNiel, from Baker &

 5   Hostetler.

 6                 I’m happy to answer any questions that you have

 7   with respect to our First Interim Application.

 8                 THE COURT:     Well, I only had one question on

 9   yours, which was a -- an invoice for $5,000 for Presentation

10   View, LLC.     This was in the July -- well, the June/July

11   invoice.     It says trial presentation.         I’m not sure what that

12   is.    Could you just remind me what that was?

13                 MR. VANNIEL:     Certainly.     So Presentation View is

14   a vendor of ours.     So that was an expense that we incurred

15   that we paid.     It was in anticipation of the potential trial

16   in the Karma Automotive matter, which, thankfully, I think we

17   can all say was resolved, which has moved the case forward.

18                 So that -- they were essentially a vendor that

19   were -- that was going to assist us with presentation of

20   demonstrative exhibits and things of that sort in the trial

21   in the Central District of California.

22                 THE COURT:     All right.     And that’s true with

23   respect to the I think 21,000 for duplication and binding of

24   trial exhibits, the same --

25                 MR. VANNIEL:     Yes.
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 1                 THE COURT:     Okay.

 2                 MR. VANNIEL:     Yes, Your Honor.         Same thing.   We --

 3   as I think Your Honor knows, there -- obviously, there was a

 4   stay.     There was a settlement.       There was a time period

 5   within which things were, I don’t want to say limbo, but we

 6   had to do things.     We consulted with our client on that and,

 7   yes, with respect to the binding and those costs, same

 8   answer.

 9                 THE COURT:     Okay.    Then I will approve them.        I

10   suspected as much, but I just wanted to have it stated on the

11   record.

12                 So I will approve your fee request and that was my

13   only issue.

14                 MR. VANNIEL:     Great.     Thank you, Your Honor.

15                 THE COURT:     You’re welcome.

16                 With respect to Jefferies, the Dentons invoices,

17   including the latest one -- I did get the July invoice, seems

18   to include more than simply matters related to Jefferies

19   retentions or fee applications, so I have some questions

20   about that, some more with respect to the Foxconn discovery,

21   for example, preparation of Mr. Finger’s declaration, and in

22   the latest one, bid procedures issues.

23                 Why would Jefferies need separate counsel on those

24   matters?

25                 MS. RUBEN:     So, Your Honor, in this case, you
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 1   know, someone was moving to dismiss the case and Jefferies

 2   was a 30(b)(6) witness for the company, which isn’t usually

 3   standard but, you know, the debtor had asked him to serve in

 4   that manner and had asked him to file a declaration about the

 5   motion to dismiss and our -- you know, pursuant to the

 6   engagement letter and the retention order, Jefferies is, you

 7   know, allowed to send invoices for their legal expenses

 8   because, you know, they’re not attorneys and they, you know,

 9   typically require counsel to help them comply with the

10   Bankruptcy Code and the, you know, Rules of Bankruptcy

11   Procedure and so, you know, if Jeff is going to serve as a

12   30(b)(6) witness and have his deposition taken, he needed our

13   -- you know, our services to help him prepare for that

14   deposition and make sure everything he’s saying, those, you

15   know, bid procedures, declaration, and then the declaration

16   for the motion to dismiss, make sure those are all compliant

17   with the Bankruptcy Code and Local Rules and things like

18   that.

19              THE COURT:     All right.    And the debtor had no

20   issue with those services, Ms. Patterson?

21              MS. PATTERSON:     That’s correct, Your Honor.       The

22   debtors had no issue with that.

23              THE COURT:     All right.    I’ll accept that

24   explanation then and I will approve the Jefferies and

25   expenses, as requested.
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 1                 MS. RUBEN:   Thank you, Your Honor.

 2                 MS. PATTERSON:   Thank you very much, Your Honor.

 3   We’ll revise the -- we’ll submit the order.              We are -- heard

 4   from your chambers this morning about taking Troutman off and

 5   submitting that to Judge Shannon, so we’re happy to do that.

 6                 So we will submit a revised order even though

 7   these discussions didn’t create revisions, but we will submit

 8   that revised order to you.

 9                 THE COURT:   All right.     And a question.          Huron

10   filed a separate C&O and Order.         I had no issues with theirs,

11   so I’ll enter that as well.

12                 MS. PATTERSON:   Okay.     Yes.       Thank you, Your

13   Honor.     They were on our notice order, despite --

14                 THE COURT:   Oh, they are?

15                 MS. PATTERSON:   -- we did all the professionals

16   together, yes.     So we’re happy to leave them on our order and

17   we’ll just do a separate one for Troutman to go to Judge

18   Shannon.

19                 THE COURT:   Okay.    I wasn’t sure if the Committee

20   was going to do a separate one.         Okay.

21                 MS. PATTERSON:   Yeah, sometimes they do, but I

22   decided to be nice today, so I included them.

23                 THE COURT:   All right.     Then I’ll only have to

24   sign one Order.     Thank you, Ms. Patterson.

25                 MS. PATTESRON:   No problem, Your Honor.             And
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 1   that’s all we have for today, Your Honor.

 2              THE COURT:    All right.     Thank you.

 3              MS. PATTERSON:    Thank you.

 4              THE COURT:    We can stand adjourned.

 5              MS. PATTERSON:    Thank you, Your Honor.

 6              (Proceedings concluded at 2:07 p.m.)

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 1                              CERTIFICATION

 2              I certify that the foregoing is a correct

 3   transcript from the electronic sound recording of the

 4   proceedings in the above-entitled matter to the best of my

 5   knowledge and ability.

 6

 7   /s/ Tammy L. Kelly                                   December 13, 2023

 8   Tammy L. Kelly

 9   Court Transcriptionist For Reliable

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